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EXHIBIT E
Case 6:18-cv-06464-EAW-MJP Document 160-8 Filed 05/24/24 Page 2 of 7

ROCHESTER POLICE DEPARTMENT

\ INCIDENT REPORT
_, (22. All Other Offenses 09/04/2015| 23:28 09/04/2015] 23:28 09/04/2015] 23:28
<_|lnckent Address Bet Campus Code
Ii [439 South AVE 229

Violent Cinta Cantext

Saute -PL 140.10 0A GMS Atampidioonn Gommplated Goan -T

Description - Criminal Trespass 3rd: Property Fenced in or Enclosed

{Location Weapon

Street-47 .

Larceny Type Aggravated Assauit Circumstancer Gang Related |Computar

No No

g Sine Type Entry Pome [Method of Eniy #8 of Prerieas Entered
¥ (No Bias-Not Applicable-77 fr [
Ww [Staute-PL 206.30 AMO AttempliConmit- Comptated Counts -
S Description + Rosisting Arrest

Gang Related {Computer
No No

+ of Premises Entered

Individual-I Algazali, Dawan

Addraas JEtinicay Residence Status
z 439 South AVE N {Resident
5 City, Stale, Zp . Relationship}

Rochester, NY

Taleptiane Leva! of Injury \Medical Trratmant

Physical inju Apparent Minor iy _ Not Treated
Roped oii x= Se aa “ftaeniewed “

five | Mame (Last. Firat, MidGie) Bex [Race] Eth Radress Telaphiona No.
@ W_|maracto, duane MiWwiN 3
i W_ lzayed, rafea M{ win

Fype 3 — - Suspect Nome ies Fa haga) — “
fi Arrestee Vann, David, C
S aes eu Date of Birth Race me MoRIS / SCR #
2 |ROCHESTER. NY 14621 “he 23 325538
3 Height |Weight [Hate Color Heit Length Eye Cofar Glassas |Camplexion aM oat! Affiligtion :
~{8'9 | 160 | Black Baid Brown Thin
5 Clothing, Jewoly Oistinguishing Faaturss dar Condion Sears, Marks. Tatoos
B Apparently Normal ‘
a Biothere Maiden Nama Place of Bith School Mame 10 &
[Madox Operandi
3 .
E 01. Wilness to the offense? | 05. Can 2 suspect be dascribed? | 08, Is there significant Modus Operandi present?
o 02. Surveillance footage of event? _| '}06. Can a suspect be identified? | 10. ts there significant physical evidence present? ~
F | .{03. Can a suspect be named? O7. Can a suspect vehicle be identified? |_| | 1!. Has evidence tech work been perfomed? |
2 'J04, Can a suspect be located? 08. ts stolen proparty iraceabie? 12. Preliminary investigation NOT complated?
= |Case Status Exceptional Ciasrance Assigned Bust: Reviow Box
Cleared by Arrest - Adult Patrol - Central Central 4th
Reporting Officer : Date Reviewed By
ITCHELL STEVEN Pad 09/15/2015 | COR\d2295|ZIMMERMAN, DANIEL

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ROCHESTER POLICE DEPARTMENT
INCIDENT REPORT

r~YStaiae-PL 420.00 02 AMS

—“Titempicommi- Completed Cauts 7

Ui |Deschption - Assault 3rd: Recklessty Cause Physical Injury

i Location Waapoa

& | Street-47 Not Reported-88

1 {escany Type avatad Asaauk Cieccumstances Gang Related «= {Computer
a Assauit on LE Officer Yes No
< Methed of Eniry

Ghas Type Entry Part
lo Bias-Not Applicable-77

of Premises Entered

Police Officer-L {Kester, Jeffery
9 Address [Date of Bath [Age Sex Race Ethnicity Residance Status
wz | 185 EXCHANGE BLVD N esident
Fy [Oty. State, 2p Michindttinndee Relmlanskip (Ofmdet Name, OO8. Relationelip)
> | ROCHESTER, NY 14614
Telaphone Level of injury Type of injury Macca! Tresteant
(585)428-1110 —_—— {Serious Physical Injury Apparent Broken BoneaiQ/ Treated and Released
2 Type Name (Last, First, Midge] bop Sax | Race] Eth Telephone No,
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Clothing, Jowalry. Oistinguishing Features Marka. Tattoos
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MITCHELL STEVEN 2134 —|09/16/2015 | COR\dz295|ZIMMERMAN, DANIEL J.|9/16/2015/00:55

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theidant Report 2615-00235240 Page 2 OF 8

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Case 6:18-cv-06464-EAW-MJP Document 160-8 Filed 05/24/24 Page 4of7

athens, ORM Sy

ROCHESTER POLICE DEPARTMENT Se ORB ce
INCIDENT REPORT 2015-00235240:.

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: “tye “tye ret ed

At the above date and time, | responded to the A and Z market at 439 South Ave. for the report of a
male refusing to leave. | responded with (V2) Ofc. Drake and (V3) Ofc. Kester. Upon arrival, | spoke
with (V1) (Algazali), an employee of the store, who stated that (A) (Vann) entered the store and
wanted to buy beer. (V1) states that he asked (A) for identification to buy the beer and (A) did not
have identification. (V1) refused to sell (A) a beer and (V} remained In the location. (V1) stated that (A)
was told to leave the location several times, but remained in the store for approximately 45 minutes.
(V1) states that (A) became aggressive towards (V1) and (V1) pushed (A) out the back door of the
location and locked that door. During this altercation, (V1) suffered an injury to the little finger on
(V1)'s left hand, which was later found to be a fracture in that finger. (A) then came back to the front
of the location and entered the store again. At this point, (V1) called the 911.

After speaking with (V1) and the officers on scene, | went inside the front door area of the location to
speak with (A). | told (A) that he needed to leave the location, justas he hag been told by (V1) several
times. (A) told me that he did not have to leave the store and argued with i
the front of the store to the side walk, almost bumping into Ofc. Kester. (A) p at the side walk,
and turning towards officers and (V1). (A) began to argue with (V1) AG ath a moved Into arrest
(A) for trespass. As | began to handcuff (A), (A) refused to keep his(igi®@ behind his back and
pulled it away from officers. This action forced officers to brin A) Taghe g@

where (A) was handcuffed. While going to the ground, (A) fell a
yelled out that he hurt his leg. | moved (A) off of (V2) and gulled
was alright and he told me he was not. | then assisted islet a
patrol vehicle to do a proper search.

As (A) was brought to my patrol vehicle, he imme
to assist me In controlling (A). (A) was told multip!
(A) was thrashing and pulling his body away fi ers. The actions of (A) once again forced (V3)
and | to bring (A) to the ground. Once on th iu 3) immediately stated that he was hurt and!
could see that (V3) was not able to move hg righ@shoulder. | continued attepmting to control of (A)
while on the ground. (A) continued to rall n the ground and reached with his hands in the
area of his waistband. Based o i and experience, | know the area of a waist band to be a
common place for individuals weapons and | did fear that (A) had a weapon on his person.

Several other officers arvi t th @ and | was able to have (A) properly searched and placed in
the rear of my patrol vehic®. efused to give me any of his personal information, however (V1)
stated that (A) lived at 500 South Wve. Ofc. Barber was able to speak with the management of 500
South Ave. and it was confirmed that (A) did live at that location. Management did provide Ofc.
Barber with copies of (A)'s NYS Licence, Social Security Card and Birth Certificate, confirming the

identity of (A).

a away from me. (V3) (Drake) ran over
irffes to get on the ground and would not comply.

NARRATIVE

(V2) was taken by Rural Metro to Highland Hospital for evaluation. (V2) stated that his pain fevel was
an 8 out of 10. It was determined at the hospital that (V2) had a broken right fibula. (V2) was treated
for the injury and released.

(V3) was taken by Rural Metro to Rochester General Hospital for evaluation. (V3) stated that he had a
pain level of an 8 out of 10. It was determined at the hospital that (V3) had a separated right shoulder.
(V3) was treated for the injury and released.

Technician Farbizio (270) did respond to the location. (A) was treated for exposure to 0.C. Spray by

Repoiling Officer laM® Date Rindewed Gy
MITCHELL STEVEN 2134 }09/15/2018 | COR\d2295/ZIMMERMAN, DANIEL. J.[9/46/2015/00:55

Inadant Report 2015-00235240 Paga 3 OF 6

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ROCHESTER POLICE DEPARTMENT RR
INCIDENT REPORT '20145-00235240._ .
Rural Metro at the incident of the location. Ofe. Kephart and | transported (A) to booking without ,
further incident.

x
No

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Reporting Oficar fa [Dele Reviewed By
MITCHELL STEVEN 2134 (09/18/2015 | COR\dz295/ZIMMERMAN, DANIEL J.19/16/2015[00:$5

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Case 6:18-cv-06464-EAW-MJP Document 160-8 Filed 05/24/24 Page 6 of 7

ROCHESTER POLICE DEPARTMENT
INCIDENT REPORT

2015.00235240.:°

|stats PL 120.05 03 DF2
Cescrption - Assault 2nd: Witntent Cause Inj to Officer/Fireman/EMT Nurse

ee a ae
AitemstiComms - Completed Caunts - 2

Location Waspor
Street-47 Not Reported-88
tL aceny Type Aggtasated Assauk Cheumstances Gang Ralated = |Corapytar
Assault on LE Officer No No
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IMITCHELL STEVEN 134 __109/16/2013 | COR\d2295/ZIMMERMAN, DANIEL J.[9/16/2015)00:55

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ROCHESTER POLICE DEPARTMENT ck ORE ee .
INCIDENT REPORT 2015-00235240"
“Nice ea at Fa
Police Officer-L_ | Drake, Matthew
Addiess [em of Birth Age Sox Race = fEthoicity Resivence Status
185 EXCHANGE BLVD N Resident
Cy, State, Zip Viclim/Gfendes Relationship (Ofetdar Nama, COB, Sgiaticnship;
ROCHESTER, NY 14614
Tetephone Level of injury Type of injury At qT
(585)428-1110 Physical injury Apparent Minor injury Treated and Released
Society Public-8 | City of Rochester
[Address Date of Bith Aga Sex Race Ethnichy Residence Status
185 Exchange BLVD lot Applicable
City, State. Zo Victine/Offende: Retationship ¢Osvader Name. DOB, Retaticastipy
Rochester, NY 14614
Telephone Level of Injury fypa of injury Medical Treatarent
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